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ANNEX 1
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Va.

c a AudioCodes

Connecting Networks

February 2, 2009

By First-Class Mail, Federal Express, and Certified Mail, Return Receipt Requested

Nortel Networks Inc.
220 Athens Way, Suite 300
Nashville, TN 37228

RE: Reclamation Demand of AudioCodes Ltd. and AudioCodes Inc,

Ladies and Gentlemen:

This demand and request are made for the purpose of providing notice to you of,
and perfecting, the rights of AudioCodes Ltd. and AudioCodes Inc. (collectively, the
“Creditor”) under the Uniform Commercial Code, as in effect in the relevant
jurisdiction(s) and as may be amended (the “UCC”), and the United States Bankruptcy
Code, 11 U.S.C. §§ 101 et seg., as in effect and as may be amended (the “Bankruptcy
Code”).

Please be advised that, pursuant to Article 2, Section 2-702(2), of the UCC, and
Section 546(c) of the Bankruptcy Code (11 U.S.C. § 546(c)), the Creditor hereby
demands reclamation of all goods sold by the Creditor to Nortel Networks Inc. (the
“Debtor’’) and received by the Debtor on or after November 30, 2008, or such other date
as is determined relevant for purposes of Section 546(c) (the “Goods”), including,
without limitation, Goods described on Exhibit A hereto, which referenced Goods have a
total invoice price of $907,860. Also attached as Exhibit B hereto are the invoices for
such Goods.

To the extent that the Goods (or a portion thereof) were received by the Debtor on
or after December 25, 2008 and before January 14, 2009 (or such other dates as
determined relevant for purposes of Section 503(b)(9)), the Creditor hereby requests that
the Debtors promptly remit to the Creditor payment for such Goods (or such portion
thereof) as an administrative expense of the Debtors’ bankruptcy estates, in accordance
with Bankruptcy Code Section 503(b)(1) (11 U.S.C. § 503(b)(9)).

International Headquarters AudioCodes Inc. Contact:

1 Hayarden Street, Airport City, Lod 70151 27 World's Fair Drive, Somerset, NJ 08873 www.audiocodes.com/info
P.O.Box 255, Ben Gurion Airport, Israel 70100 Tel:+1-732-469-0880 Fax:+1-732-496-2298 Website:

Tel: +972-3-976-4000 Fax: +972-3-976-4040 www. audiocodes.com
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Connecting Networks

In addition, to the extent that the Goods (or a portion thereof) were received by
the Debtors on or after January 14, 2009 (or such other date as determined relevant for
purposes of Section 503(b)(1)), the Creditor requests that the Debtors promptly remit to
the Creditor payment for such Goods (or such portion thereof) as an administrative
expense of the Debtors’ bankruptcy estates, in accordance with Bankruptcy Code Section
503(b)(1) (11 U.S.C. § 503(b)(1)).

The Creditor understands that any reclamation and administrative expense claims
and recoveries thereon may be subject to approval of the United States Bankruptcy Court
for the District of Delaware or another court of competent jurisdiction.

This letter and the rights and remedies asserted herein are without prejudice to
other rights and remedies of the Creditor under applicable law, all of which are expressly
reserved.

Very truly yours,
Moshe Geller

VP Finance
AudioCodes Inc.

On behalf of:
AudioCodes, Ltd. and AudioCodes Inc.

International Headquarters AudioCodes Inc. Contact:

1 Hayarden Street, Airport City, Lod 70151 27 World’s Fair Drive, Somerset, NJ 08873 www.audiocodes.com/info
P.O.Box 255, Ben Gurion Airport, Israel 70100 Tel:+1-732-469-0880 Fax:+1-732-496-2298 Website:

Tel: +972-3-976-4000 Fax: +972-3-976-4040 www.audiocodes.com
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onnecting Networks

ce:

Attn: Lynn Egan

Nortel Networks Inc.

220 Athens Way, Suite 300

Nashville, TN 37228

(By Federal Express and First-Class Mail)

Aitn: Senior Manager, Brand Management
for Access Networks

Nortel Networks Inc.

5555 Wayward Parkway

Alpharetta, Georgia 30004

(By Federal Express and First-Class Mail)

Attn: Counsel, Supply Management
Solutions Law

Nortel Networks Inc.

Law Department

2221 Lakeside Boulevard

Richardson, Texas 75082

(By Federal Express and First-Class Mail)

Attn: Supply Management, OEM Contracts
Nortel Networks Limited

8200 Dixie Road

Brampton, Ontario

Canada, L6T 5P6

(By Federal Express and First-Class Mail)

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Nortel Networks Inc. Claims

Processing Center

c/o Epiq Bankruptcy Solutions, LLC

757 Third Avenue, 3" Floor

New York, NY 10017

(By Federal Express and First-Class Mail)

James L. Bromley

CLEARY, GOTTLIEB STEEN & HAMILTON LLP
One Liberty Plaza

New York, New York 10006

Telephone: (212) 225-2000

(By Email and First-Class Mail)

Derek C. Abbott

MORRIS, NOCHOLS, ARSHT & TUNNELL LLP
1201 North Market Street, 18'" Floor

Wilmington, Delaware 19899-1347

Telephone: (302) 658-9200

(By Email and First-Class Mail)

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1 Hayarden Street, Airport City, Lod 70151
P.O.Box 255, Ben Gurion Airport, israel 70100
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27 World’s Fair Drive, Somerset, NJ 08873 www.audiocodes.com/info
Tel:+1-732-469-0880 Fax:+1-732-496-2298 Website:

Contact:

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EXHIBIT A
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